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            11                              UNITED STATES DISTRICT COURT

            12           NORTHERN DISTRICT OF CALIFORNIA (SAN FRANCISCO DIVISION)

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            14   SECURITIES AND EXCHANGE                     Case No. 06-CV-06384-CRB
                 COMMISSION,
            15                                               APPENDIX OF AUTHORITIES NOT
                                                Plaintiff,   PUBLISHED IN WEST REPORTERS
            16                                               AND CITED IN DEFENDANTS
                        v.                                   ROMULUS S. PEREIRA’S AND ROBERT
            17                                               B. STANTON’S MEMORANDUM OF
                 ROMULUS S. PEREIRA, ROBERT B.               POINTS AND AUTHORITIES IN
            18   STANTON, L. JOHN KERN, ANDREW D.            SUPPORT OF MOTION TO DISMISS
                 FELDMAN, WILLIAM F. MCFARLAND,              AND MOTION TO STRIKE
            19   LORI H. CORNMESSER,
                                                             Date:      January 19, 2007
            20                                Defendant.     Time:      10:00 a.m.
                                                             Courtroom: 8
            21                                               Judge:     The Honorable Charles R. Breyer

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385926.01                      APPENDIX OF AUTHORITIES NOT PUBLISHED IN WEST REPORTERS
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385926.01                           APPENDIX OF AUTHORITIES NOT PUBLISHED IN WEST REPORTERS
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